Case 4:22-cv-00615-ALM       Document 10   Filed 01/31/23   Page 1 of 28 PageID #: 51




                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


 CRYSTAL BOLDUC,

                Plaintiff,
                                            Civil Action No. 4:22-cv-615-ALM
       vs.

 AMAZON.COM INC.,

                Defendant.



         DEFENDANT AMAZON.COM, INC.’S RULE 12(B)(1) AND 12(B)(6)
             MOTION TO DISMISS FIRST AMENDED COMPLAINT
               AND MEMORANDUM IN SUPPORT THEREOF




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 4:22-cv-00615-ALM                       Document 10               Filed 01/31/23              Page 2 of 28 PageID #: 52




                                                    TABLE OF CONTENTS
                                                                                                                                      Page

INTRODUCTION ............................................................................................................................ 1

STATEMENT OF ISSUES .............................................................................................................. 3

BACKGROUND .............................................................................................................................. 3

I.         Facts and Allegations Pleaded in Complaint ........................................................................ 3

II.        Additional Facts Relevant to Amazon’s Standing Challenge .............................................. 4

ARGUMENTS AND AUTHORITIES ............................................................................................ 7

I.         The Complaint Should be Dismissed for Lack of Subject Matter Jurisdiction Because
           Plaintiff Lacks Standing. ...................................................................................................... 7

      A.    Legal Standards for Rule 12(b)(1) Dismissal for Lack of Standing ................................... 7

      B.    Plaintiff Lacks Standing to Challenge Amazon’s DSP Diversity Grant Program. ............. 9

            1.       Plaintiffs’ Allegations Are Insufficient to Show That She Is Able and Ready to
                     Compete to Become a DSP Owner. ....................................................................... 11

            2.       Plaintiff Cannot Plead an Injury-in-Fact Because She Is Unaffected By Amazon’s
                     DSP Grant Program. ............................................................................................... 14

II.        The Complaint Should be Dismissed Because Plaintiff Fails to State a Claim Upon Which
           Relief May Be Granted....................................................................................................... 18

CONCLUSION .............................................................................................................................. 21




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                              PAGE i
Case 4:22-cv-00615-ALM                        Document 10                 Filed 01/31/23               Page 3 of 28 PageID #: 53




                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

Cases

Aaron Priv. Clinic Mgmt. LLC v. Berry,
   912 F.3d 1330 (11th Cir. 2019) .........................................................................................11, 12

Adams v. Houston Cmty. Coll.,
   No. CV H-22-1547, 2022 WL 4227260 (S.D. Tex. Sept. 12, 2022) .......................................19

Adarand Constructors, Inc. v. Pena,
   515 U.S. 200 (1995) .................................................................................................................12

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................18

Attala Cnty., Miss. Branch of NAACP v. Evans,
    37 F.4th 1038 (5th Cir. 2022) ..................................................................................................17

Carney v. Adams,
   141 S. Ct. 493 (2020) ....................................................................................................... passim

Comcast Corp. v. Nat’l Ass’n of African Am.-Owned Media,
  140 S. Ct. 1009 (2020) .......................................................................................................18, 20

E. Tex. Motor Freight Sys. Inc. v. Rodriguez,
    431 U.S. 395 (1977) .................................................................................................................19

Ellison v. Am. Bd. of Orthopaedic Surgery,
    11 F.4th 200 (3rd Cir. 2021) ..............................................................................................11, 14

Evans v. Tubbe,
   657 F.2d 661 (5th Cir. 1981) .....................................................................................................9

Funk v. Stryker Corp.,
   631 F.3d 777 (5th Cir. 2011) .................................................................................................4, 9

Gaylor v. Inland Am. McKinney Towne Crossing LP, LLC,
   No. 4:13-CV-307, 2014 WL 1912388 (E.D. Tex. May 13, 2014) ............................................8

Gegenheimer v. Stevenson,
   No. 1:16-CV-1270-RP, 2017 WL 2880867 (W.D. Tex. July 5, 2017) ....................................12

Gohmert v. Pence,
   510 F. Supp.3d 435 (E.D. Tex. 2021), aff'd, 832 Fed. Appx. 349 (5th Cir.
   2021) ........................................................................................................................................17



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                                  PAGE ii
Case 4:22-cv-00615-ALM                        Document 10                 Filed 01/31/23               Page 4 of 28 PageID #: 54




Gratz v. Bollinger,
   539 U.S. 244 (2003) ...........................................................................................................12, 15

Greer’s Ranch Café v. Guzman,
   540 F. Supp. 3d 638 (N.D. Tex. 2021) ....................................................................................12

Hamilton v. United Parcel Serv., Inc.,
  No. 1:11-CV-240, 2012 WL 760714 (E.D. Tex. Feb. 13, 2012) .............................................18

Holman v. Vilsack,
   582 F. Supp. 3d 568 (W.D. Tenn. 2022)............................................................................12, 13

Home Builders Ass’n of Miss., Inc. v. City of Madison, Miss.,
  143 F.3d 1006 (5th Cir. 1998) ...................................................................................................7

In re Katrina Canal Breaches Litig.,
    495 F.3d 191 (5th Cir. 2007) .....................................................................................................9

Liverman v. McMurray,
    No. 7:19-CV-00062-DC-RCG, 2019 WL 11660803 (W.D. Tex. Oct. 4, 2019) .......................8

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ...................................................................................................7, 8, 10, 17

Menchaca v. Chrysler Credit Corp.,
  613 F.2d 507 (5th Cir. 1980) .....................................................................................................8

Morris v. Dillard Dep’t Stores, Inc.,
  277 F.3d 743 (5th Cir. 2001) ...................................................................................................19

Ne. Florida Chapter of Associated Gen. Contractors of Am. v. City of
    Jacksonville, Fla., 508 U.S. 656 (1993) ..................................................................................15

Palmer v. Paxton,
   No. 4:15-CV-00657-ALM-CAN, 2016 WL 11472825 (E.D. Tex. Aug. 25,
   2016) ..........................................................................................................................................7

Paterson v. Weinberger,
   644 F.2d 521 (5th Cir. 1981) .....................................................................................................9

Pederson v. Louisiana State Univ.,
   213 F.3d 858 (5th Cir. 2000) .............................................................................................15, 16

Phelps v. Wichita Eagle-Beacon,
   886 F.2d 1262 (10th Cir. 1989) ...............................................................................................19

Pucket v. Hot Springs Sch. Dist. No. 23-2,
   526 F.3d 1151 (8th Cir. 2008) .................................................................................................14



DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                                   PAGE iii
Case 4:22-cv-00615-ALM                      Document 10               Filed 01/31/23              Page 5 of 28 PageID #: 55




Ramming v. United States,
   281 F.3d 158 (5th Cir. 2001) .....................................................................................................7

Rhodes v. U.S. Office of Special Counsel,
   No. 3:05-CV-2402-K (BH), 2008 WL 2330576 (N.D. Tex. May 22, 2008) .............................9

Simmons v. Triton Elevator, LLC,
   No. 3:19-CV-1206-B, 2020 WL 7770245 (N.D. Tex. Dec. 30, 2020) ..............................18, 20

Smart v. Int’l Broth. of Elec. Workers, Loc. 702,
   315 F.3d 721 (7th Cir. 2002) ...................................................................................................20

Warth v. Seldin,
  422 U.S. 490 (1975) .................................................................................................................16

Xerox Corp. v. Genmoora Corp.,
   888 F.2d 345 (5th Cir. 1989) .....................................................................................................7

Statutes

42 U.S.C. § 1981 .................................................................................................................... passim

Other Authorities

5B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure
   § 1357 (3d ed. 2004) ..................................................................................................................9

Fed. R. Civ. P. 12(b)(1)............................................................................................................1, 7, 8

Fed. R. Civ. P. 12(b)(3)..................................................................................................................18

Fed. R. Civ. P. 12(b)(6)................................................................................................1, 8, 9, 18, 20




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                                            PAGE iv
Case 4:22-cv-00615-ALM               Document 10           Filed 01/31/23         Page 6 of 28 PageID #: 56




         Defendant Amazon.com, Inc. (“Amazon”) respectfully moves the Court to dismiss

Plaintiff’s First Amended Class-Action Complaint (“FAC” or “Complaint”) (Dkt. 8) pursuant to

Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6). 1

                                              INTRODUCTION

         To deliver packages in the communities it serves, Amazon partners with local businesses—

called Delivery Service Partners, or DSPs 2—whose owners are responsible for hiring, training,

and retaining a team of employee-drivers and managing a fleet of delivery vans. To be offered a

DSP contract, individuals must (among other things) submit an application, meet certain eligibility

requirements, pass an extensive interview and screening process, and be willing to operate their

business in an area where Amazon needs additional capacity. Amazon’s eligibility requirements

are race-neutral and an applicant’s race or ethnicity plays no role whatsoever in Amazon’s process

for selecting DSPs. Amazon does, however, try to promote diversity within its DSP ranks by

offering a $10,000 grant to new DSP owners who opt-in and identify as members of certain

minority groups.

         In this lawsuit, Plaintiff Crystal Bolduc (“Plaintiff” or “Bolduc”) alleges that Amazon’s

DSP diversity grant program violates 42 U.S.C. § 1981 by discriminating against white and Asian-

American DSP owners on the basis of their race. Based on her own allegations, however, Plaintiff

is not a DSP owner and has never applied to become one. FAC at ¶¶ 19–24. Plaintiff therefore

lacks Article III standing, because she cannot show an actual or imminent injury arising from the




1
  Because Plaintiff purports to represent a class of individuals that includes individuals who have signed binding
arbitration agreements, this Motion is filed without prejudice to and with an express reservation of Amazon’s rights
to move to compel arbitration at an appropriate time if Plaintiff is permitted to proceed in this case and as a class
representative.
2
  Plaintiff refers throughout her Complaint to individuals who are, or who become, “delivery service partners.” To be
accurate, it is actually companies (not individuals) who become delivery service partners, but the individuals who own
(or will own) those companies go through the application process on behalf of their companies.


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                       PAGE 1
Case 4:22-cv-00615-ALM          Document 10        Filed 01/31/23      Page 7 of 28 PageID #: 57




fact that Amazon offers a diversity grant to some DSP owners but not others. Indeed, Plaintiff’s

§ 1981 claim is the epitome of an abstract and generalized grievance by a member of the general

population about an internal corporate program that has no actual effect on her.

       Plaintiff attempts to plead the existence of an injury-in-fact by alleging that she “wishes to

become an Amazon delivery service partner” and she is “’able and ready to apply.’” FAC ¶¶ 19–

20 (quoting Carney v. Adams, 141 S. Ct. 493, 499–500 (2020), and Gratz v. Bollinger, 539 U.S.

244, 261 (2003)). But those allegations, taken as true, are insufficient to establish standing because

Bolduc pleads no facts showing that she has taken any concrete steps toward completing an

application for the DSP program, or could meet even the most basic eligibility requirements for

running such a business.

       Moreover, Plaintiff’s allegations that she is “able and ready to apply” to become a DSP

owner are irrelevant here because Plaintiff does not allege discrimination in the selection of DSP

applicants. Amazon’s selection process is race-neutral and highly selective (only 3% of applicants

are accepted into the program), and Plaintiff does not, and cannot, allege that she is on unequal

footing because of her race (or otherwise) in competing for a spot. The relevant inquiry here is

whether Plaintiff has alleged facts showing that she was affected by the alleged unequal treatment

of some DSP owners versus others. Plaintiff cannot allege such facts, of course, because the DSP

diversity grant program is not open to the general public, but rather only to DSP owners, which

Plaintiff is not and has never applied to be. For these reasons, Plaintiff lacks Article III standing,

and her Complaint should be dismissed for lack of subject matter jurisdiction.

       Plaintiff’s Complaint should be dismissed also for failure to state a claim. Plaintiff cannot

allege, as she must, that her race was the but-for cause of her failure to receive a DSP diversity

grant. Because she admits she is not a DSP owner, she is per se ineligible for the diversity grant,




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         PAGE 2
Case 4:22-cv-00615-ALM          Document 10        Filed 01/31/23      Page 8 of 28 PageID #: 58




regardless of race. That is, the but-for cause of her inability to obtain a grant given to certain DSP

owners is that she is not a DSP owner in the first place. She admits that she has not applied to

become a DSP owner, and, in all events, it remains purely speculative as to whether she could have

made it through the selection process—especially where she fails to allege that she would meet

even the threshold requirements to become a DSP owner had she applied.

         For each of the foregoing independent reasons, Plaintiff’s Complaint should be dismissed.

                                   STATEMENT OF ISSUES

     1. Does the Court lack subject-matter jurisdiction over Plaintiff’s claim for violation of
        42 U.S.C. § 1981 due to Plaintiff’s lack of standing?

     2. Does Plaintiff’s Complaint contain sufficient facts to state a claim for violation of 42
        U.S.C. § 1981 against Amazon?

                                         BACKGROUND

I.       Facts and Allegations Pleaded in Complaint

         On July 20, 2022, Plaintiff filed a Class-Action Complaint (Dkt. 1) against Amazon. On

December 15, 2022, Plaintiff filed her First Amended Class-Action Complaint (Dkt. 8) alleging

that Amazon engaged in racial discrimination in violation of 42 U.S.C. § 1981. FAC ¶ 35. In

particular, Plaintiff claims that Amazon discriminates against her and other “whites and Asian-

Americans” in regards to its DSP Program’s diversity grant. Id. ¶ 8. In support of that claim,

Plaintiff alleges that:

     •   Amazon provides “a $10,000 bonus to ‘Black, Latinx, and Native American
         entrepreneurs’ who act as its delivery service partners, while withholding this stipend from
         Asian-Americans and whites who deliver Amazon packages” (id. at 1);

     •   Plaintiff “wishes to become an Amazon delivery service partner” (id. at ¶ 19);

     •   Plaintiff is “able and ready to apply” to become a DSP (id. at ¶¶ 19–20);

     •   Plaintiff is “white” and therefore “ineligible for the $10,000 stipend that Amazon awards
         to blacks, Latinos, and Native Americans” (id. at ¶ 22); and




DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         PAGE 3
Case 4:22-cv-00615-ALM               Document 10           Filed 01/31/23          Page 9 of 28 PageID #: 59




      •   Plaintiff “cannot apply to become or become an Amazon delivery service partner without
          subjecting herself to racial discrimination” (id. at ¶ 23).

          However, Plaintiff also represents that she “will not apply to become an Amazon delivery

service partner until” Amazon eliminates its allegedly discriminatory policy, “either by extending

its $10,000 benefit to whites and Asians or curtailing or eliminating the benefit entirely.” Id. at

¶ 24 (emphasis added).           Despite her refusal to apply to become a DSP owner, Plaintiff

acknowledges more than once that being a DSP owner (not just a DSP applicant) is a threshold

requirement for receiving the grant. See id. at 1 (alleging that the grant is provided to individuals

“who act as [Amazon’s] delivery service partners”); id. at ¶ 37(b) (seeking a declaration as to the

illegality of Amazon’s grant “that it provides to the black, Latino, and Native American contractors

in its delivery-service partners program”) (emphasis added).

II.       Additional Facts Relevant to Amazon’s Standing Challenge

          Amazon’s DSP Program was created in 2018. Declaration of Shereef John Mikhail

(“Mikhail Decl.”), Ex. A, at ¶ 3. The DSP Program provides an opportunity for people who are

looking to run a full-time package-delivery business, have experience hiring and coaching teams,

and are comfortable in a fast-paced, ever-changing environment. See Exhibit B, Frequently Asked

Questions, Amazon, https://logistics.amazon.com/marketing/faq (last visited Jan. 31, 2023)

(hereinafter “Ex. B”) (Program details – What should I consider before applying to Amazon’s

Delivery Service (DSP) program?). 3



3
  The description of and requirements for the DSP program are set forth in responses to Frequently Asked Questions
on Amazon’s publicly available website, https://logistics.amazon.com. The Complaint incorporates that website by
reference, including by providing the website link and attaching portions of it as an exhibit. FAC ¶ 7 & Ex. 1, at 3.
The Court thus can and should take judicial notice of and consider the FAQs, and related linked resources, for purposes
of a facial attack on the pleadings. See Funk v. Stryker Corp., 631 F.3d 777, 783 (5th Cir. 2011). In addition, the
Declaration of Shereef John Mikhail authenticates the FAQs, and related linked resources, and confirms that they
accurately identify the requirements and application process for becoming a DSP. See Mikhail Decl., Ex. A, at ¶ 5.
Alternatively, the Court should consider the additional facts regarding the DSP application process as a part of a
factual challenge to Plaintiff’s standing.


DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                        PAGE 4
Case 4:22-cv-00615-ALM         Document 10       Filed 01/31/23      Page 10 of 28 PageID #: 60




        The application process to become a DSP owner is lengthy, competitive, and highly

 selective. Mikhail Decl., Ex. A, at ¶ 4. Individuals who wish to become DSP owners must be able

 recruit, hire, and coach a team of high-performing hourly employees, manage a fleet of delivery

 vehicles, and adapt to demand throughout the year. See Exhibit C, Frequently Asked Questions

 (Program Brochure available under heading: Financials – How much start-up capital is required

 and    are   there   any     unexpected    costs    I   should    account       for?)   (hereinafter

 “Ex. C”). In 2021 alone, Amazon received about 21,000 DSP applications and accepted only about

 650 applicants, an acceptance rate of about 3%. Mikhail Decl., Ex. A, at ¶ 4.

        Importantly, Amazon does not consider an applicant’s race (or any other protected

 classification) or provide preferential treatment based on race in determining whom to accept as a

 DSP owner. Id. at ¶ 12. To apply to become a DSP owner, an individual must first submit an

 online application that provides information about previous work experience, leadership, financial

 health, community involvement, and geographic preferences. See Ex. B (Application process –

 What are the steps involved in completing the application?). For example, in its Tips for the

 Amazon Delivery Service Partner document, Amazon recommends that candidates update their

 resume to include and be prepared to address management experience and the size of the teams

 managed; experience managing a P&L statement or budget; experience recruiting, hiring, and on-

 boarding employees; and information about past promotions, successes with internal or external

 customers, and leadership in the community and how applicants might engage community

 connections to support their hiring plans. Exhibit D, Frequently Asked Questions (Tip Sheet

 available under heading: Application Process – What screening criteria do you use in selecting

 DSP candidates?) (hereinafter “Ex. D”). In addition to the application, an individual must provide

 documentation demonstrating access to $30,000 in liquid assets, as well as pass a credit check,




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       PAGE 5
Case 4:22-cv-00615-ALM              Document 10           Filed 01/31/23        Page 11 of 28 PageID #: 61




 background screening, and motor vehicle record check. Ex. B (Application process – What

 screening criteria do you use in selecting DSP candidates?); see also Ex. D.

         Those are baseline, threshold requirements that everyone must satisfy before one can

 become a DSP owner. See Ex. D. Even if an applicant satisfies those requirements, there are still

 several hurdles to becoming a DSP owner.

         If selected to progress for further consideration, the applicant will be required to participate

 in a screening interview, and then a final round of interviews, where individuals will be required

 to submit business plans. Mikhail Decl., Ex. A, at ¶ 8. If an applicant successfully makes it

 through the final round of interviews, then the applicant will have the opportunity to discuss

 location and financials before a final decision is made. Id. at ¶ 9. If the applicant selects a

 geographic preference in which Amazon has an opening, then the applicant will be given an offer

 to become a DSP owner. Id. at ¶ 10. However, if the applicant selects a geographic preference in

 which Amazon does not have an opening, the applicant will be asked to join the Future DSP

 program, until an opening becomes available, and an offer can be made to become a DSP owner.

 Id. at ¶ 11.

         In August 2020, Amazon launched the diversity grant program at issue here. 4 The grant

 program is for DSP owners only and provides a monetary stipend of $10,000 to eligible

 Black/African American, Hispanic/Latinx, and/or Native American/Indigenous DSP owners.

 Id. at ¶¶ 13, 15. Since the grant is provided to DSP owners, rather than to applicants, the $10,000

 stipend has no effect on the application process for becoming a DSP owner and cannot be used to



 4
   Since the development of the DSP program, Amazon has introduced a number of different assistance programs to
 provide additional help to certain individuals who qualify to become DSP owners. For example, in 2020, Amazon
 implemented the Veteran’s grant program which provided $10,000 grants to veterans who became DSP owners.
 Mikhail Decl., Ex. A, at ¶ 14. Further, at the beginning of this year, Amazon created the Road to Ownership Program
 which provides $30,000 grants to eligible employees of DSPs who are selected for and successfully complete the Road
 to Ownership Program and become DSP owners. Id. at ¶ 16.


 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                     PAGE 6
Case 4:22-cv-00615-ALM          Document 10         Filed 01/31/23      Page 12 of 28 PageID #: 62




 supplement and/or replace an applicant’s requirement to prove access to $30,000 in liquid assets

 during the application process. Id. at ¶ 17. Rather, the grant is provided to eligible DSP owners

 to assist them with startup costs associated with launching a small business only after they have

 first become DSP owners.

                               ARGUMENTS AND AUTHORITIES

 I.     The Complaint Should be Dismissed for Lack of Subject Matter Jurisdiction Because
        Plaintiff Lacks Standing.

        A.      Legal Standards for Rule 12(b)(1) Dismissal for Lack of Standing

        A complaint must be dismissed for lack of subject matter jurisdiction under Rule 12(b)(1)

 “when the court lacks the statutory or constitutional power to adjudicate the case.” Home Builders

 Ass’n of Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998). For subject

 matter jurisdiction to exist under Article III of the Constitution, a plaintiff must establish standing

 to bring each cause of action she seeks to assert in federal court. Lujan v. Defs. of Wildlife, 504

 U.S. 555, 560–61 (1992); Xerox Corp. v. Genmoora Corp., 888 F.2d 345, 350 (5th Cir. 1989)

 (noting that standing is a required element of subject matter jurisdiction and is therefore properly

 challenged on a Rule 12(b)(1) motion to dismiss). The party asserting jurisdiction bears the burden

 of proving it. Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001). “When a Rule 12(b)(1)

 motion is filed in conjunction with other Rule 12 motions, the court should consider the 12(b)(1)

 jurisdictional attack before addressing any attack on the merits.” Palmer v. Paxton, No. 4:15-CV-

 00657-ALM-CAN, 2016 WL 11472825, at *5 (E.D. Tex. Aug. 25, 2016), report and

 recommendation adopted, No. 4:15-CV-657, 2016 WL 5422793 (E.D. Tex. Sept. 29, 2016)

 (quoting Ramming, 281 F.3d at 161).

        To satisfy standing under Article III, a plaintiff must have (1) suffered an injury in fact,

 (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be



 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          PAGE 7
Case 4:22-cv-00615-ALM          Document 10         Filed 01/31/23      Page 13 of 28 PageID #: 63




 redressed by a favorable judicial decision. Lujan, 504 U.S. at 560–61. To show injury-in-fact, a

 plaintiff must allege “an invasion of a legally protected interest” that is “concrete and

 particularized” and “actual or imminent, not conjectural or hypothetical.” Id. 560. “[A] grievance

 that amounts to nothing more than an abstract and generalized harm to a citizen’s interest in the

 proper application of the law does not” show standing. Carney v. Adams, 141 S. Ct. 493, 498

 (2020). Thus, a plaintiff must “sufficiently differentiate[] [herself] from a general population of

 individuals affected in the abstract” by the policies or practices at issue. Id. at 502.

        A defendant may bring either a facial or factual attack under Rule 12(b)(1) to challenge a

 plaintiff’s lack of standing. Menchaca v. Chrysler Credit Corp., 613 F.2d 507, 511 (5th Cir. 1980).

 A facial attack is based on the sufficiency of the plaintiff’s pleadings, whereas under a factual

 attack, the court examines whether there are facts outside the pleadings supporting or defeating

 standing. Id.

        Because a facial attack is based on the pleadings, courts analyze it under the same standards

 applicable to Rule 12(b)(6) motions. Gaylor v. Inland Am. McKinney Towne Crossing LP, LLC,

 No. 4:13-CV-307, 2014 WL 1912388, at *2 (E.D. Tex. May 13, 2014) (granting motion to dismiss

 facial attack under Rule 12(b)(1)). The court accepts as true plausible factual allegations but need

 not accept legal conclusions or bare assertions. Id.; see also Liverman v. McMurray, No. 7:19-

 CV-00062-DC-RCG, 2019 WL 11660803, at *3 (W.D. Tex. Oct. 4, 2019), report and

 recommendation adopted, No. MO:19-CV-00062-DC, 2019 WL 11660802 (W.D. Tex. Oct. 25,

 2019) (conclusory statements about injury are insufficient to establish standing). In addition, the

 court may consider matters that are subject to judicial notice and/or incorporated by reference into




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       PAGE 8
Case 4:22-cv-00615-ALM                Document 10           Filed 01/31/23          Page 14 of 28 PageID #: 64




 the complaint—here, portions of Amazon’s publicly available website describing the DSP

 program and its requirements. See Funk, 631 F.3d at 783; supra note 3. 5

          Under a factual attack, the defendant may submit “affidavits, testimony, or other

 evidentiary materials,” and the plaintiff is similarly required to submit facts proving standing.

 Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).                          In a factual challenge, “no

 presumptive truthfulness attaches to the [plaintiff’s] jurisdictional allegations, and the court is free

 to weigh the evidence and satisfy itself as to the existence of its power to hear the case.” Evans v.

 Tubbe, 657 F.2d 661, 663 (5th Cir. 1981).

          Here, the Complaint can survive neither facial nor factual attack. The Court can and should

 conclude based on the pleadings and matters subject to judicial notice that Plaintiff lacks standing

 to pursue her claims. In the alternative, the Court may look at the factual evidence outside the

 pleadings and reach the same conclusion. See Rhodes v. U.S. Office of Special Counsel, No. 3:05-

 CV-2402-K (BH), 2008 WL 2330576, at *3 (N.D. Tex. May 22, 2008), report and

 recommendation adopted, No. 3:05-CV-2402-K, 2008 WL 2330573 (N.D. Tex. June 3, 2008),

 aff'd, 303 F. Appx. 219 (5th Cir. 2008) (dismissing claims for lack of standing under facial and

 factual attacks).

          B.       Plaintiff Lacks Standing to Challenge Amazon’s DSP Diversity Grant
                   Program.

          Plaintiff lacks standing because she does not, and cannot, plead facts demonstrating that

 she has suffered an injury-in-fact that is fairly traceable to Amazon’s allegedly unequal treatment



 5
   See also, e.g., In re Katrina Canal Breaches Litig., 495 F.3d 191, 205 (5th Cir. 2007) (permitting on motion to
 dismiss consideration of documents that “were referred to in the complaints” and were “central” to the claims at issue);
 5B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1357 (3d ed. 2004) (explaining that
 even under Rule 12(b)(6) standards, “[n]umerous cases . . . have allowed consideration of matters incorporated by
 reference or integral to the claim, items subject to judicial notice and exhibits attached to the complaint whose
 authenticity is unquestioned; these items may be considered by the district judge without converting the motion into
 one for summary judgment.”).


 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                         PAGE 9
Case 4:22-cv-00615-ALM          Document 10        Filed 01/31/23      Page 15 of 28 PageID #: 65




 of DSP owners. Lujan, 504 U.S. at 560–61. Plaintiff attempts to manufacture an injury by alleging

 that she “wishes to become an Amazon delivery service partner,” and is “‘able and ready to

 apply.’” FAC ¶ 19 (quoting Carney, 141 S. Ct. at 499–500, and Gratz, 539 U.S. at 261). But those

 allegations do not demonstrate that Plaintiff has suffered an injury-in-fact sufficient to confer

 standing for two reasons. First, even under her own framing of the standing inquiry—and despite

 the opportunity to amend her complaint—Plaintiff has failed to plead sufficient facts showing that

 she is “able and ready” to apply for the DSP program because she does not allege that she has

 taken any concrete steps to become a DSP owner or that she could meet the eligibility requirements

 for doing so. Second, and in all events, Plaintiffs’ alleged ability and readiness to apply for a DSP

 contract does not demonstrate an injury-in-fact because she fails to allege any discrimination in

 the DSP application process that would prevent her from competing on equal footing to become a

 DSP owner. Instead, Plaintiff’s complaint alleges discrimination as between people who are DSP

 owners, and she admits she is not a DSP owner and has not applied to become one. FAC ¶¶ 19,

 24.

        Accordingly, there is no basis to plausibly infer that Plaintiff has been harmed, or is in

 imminent danger of being harmed, by Amazon’s decision to provide diversity grants to some DSP

 owners but not others. Plaintiff is simply a member “of the general population” who is affected

 only “in the abstract” by Amazon’s grant program. Carney, 141 S. Ct. at 501–02. Where

 Plaintiff’s cited case, Carney, held that an attorney lacked standing to claim discrimination in the

 process of becoming a judge (id.), Plaintiff’s claim for standing is even more tenuous—she is more

 analogous to a person purportedly interested in being a judge but without alleging that she has

 even a law degree, much less the other attributes and qualifications for the position.




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                        PAGE 10
Case 4:22-cv-00615-ALM         Document 10        Filed 01/31/23      Page 16 of 28 PageID #: 66




                1.      Plaintiffs’ Allegations Are Insufficient to Show That She Is Able and
                        Ready to Compete to Become a DSP Owner.

         Federal courts have routinely held that a plaintiff seeking to challenge the process for

 awarding a contract or benefit cannot establish an injury-in-fact by including mere conclusory

 allegations that she is “‘able and ready’” to apply. As the Court explained in Carney, “if . . . [a]

 few words of general intent . . . were sufficient [] to show an ‘injury in fact,’” it would

 “significantly weaken the longstanding legal doctrine preventing [the] Court from providing

 advisory opinions at the request of one who, without other concrete injury, believes that the

 [defendant] is not following the law.” Carney, 141 S. Ct. at 501. Rather, to establish an injury-

 in-fact, a plaintiff must show that she “took some actual steps that demonstrate a real interest in

 seeking the alleged benefit,” i.e., “specific steps that would otherwise position” her to obtain the

 contract or benefit but for the challenged practice. Ellison v. Am. Bd. of Orthopaedic Surgery, 11

 F.4th 200, 202–03, 207 (3rd Cir. 2021) (emphasis added) (holding that out-of-state doctor who

 allegedly intended to move to New Jersey lacked standing to challenge hospital policies restricting

 staff privileges where he had yet to take concrete steps necessary to make him eligible to practice

 in state); see also Aaron Priv. Clinic Mgmt. LLC v. Berry, 912 F.3d 1330, 1337 (11th Cir. 2019)

 (finding no injury-in-fact where plaintiff failed to allege any “concrete steps” to found a clinic

 “such as selecting a clinic location, securing a lease option, consulting with relevant government

 officials, applying for the necessary permits or certifications, or associating with potential

 clients”).

         The Ninth Circuit’s decision in Carroll v. Nakatani is instructive. There, the Court held

 that the plaintiff lacked standing to challenge a business loan program available only to native

 Hawaiians. 342 F.3d 934, 942–43 (9th Cir. 2003). Although the plaintiff alleged that he was “able

 and ready” to apply for a loan—and had in fact filed a “symbolic,” albeit incomplete, application—



 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                       PAGE 11
Case 4:22-cv-00615-ALM                Document 10           Filed 01/31/23          Page 17 of 28 PageID #: 67




 he had failed to “formulate even a basic business plan, ha[d] no work history for the past 25 years,

 ha[d] not researched necessary business expenses such as rent or equipment, and ha[d] only a

 vague sense about the cost of [supplies].” Id. at 942. As the Court explained, “[e]ven assuming

 [the plaintiff] had a legitimate intention to apply for a loan, he ha[d] done essentially nothing to

 demonstrate that he is in a position to compete equally with other [] loan applicants.” Id.

 (emphasis added); see also Holman v. Vilsack, 582 F. Supp. 3d 568, 575–79 (W.D. Tenn. 2022)

 (plaintiff lacked standing to challenge debt relief program that allowed “socially disadvantaged”

 farmers and ranchers to apply for new loans where plaintiff made no showing he was able and

 ready to apply). 6

          As in Carroll, Plaintiff here has “done essentially nothing to demonstrate that [s]he is in a

 position to compete” for a DSP contract. Carroll, 342 F.3d at 942. While her initial complaint

 included no specific factual allegations at all, her amended complaint provides only scant details

 on her background and desire to apply, including that she had “started and owned her own business

 selling insurance in the past,” is enrolled in a vocational rehabilitation center and classes at the

 University of North Texas, and that she believes that the DSP Program is “an ideal opportunity

 for” her because it offers training and access to rental equipment. FAC ¶¶ 20–21. Those




 6
   Unlike Gratz and other cases finding standing, this case does not involve a plaintiff who has applied in the past but
 was rejected or who has an established history of applying for similar contracts. See Gratz v. Bollinger, 539 U.S. 244,
 251 (2003) (concluding the plaintiff had standing where he had previously applied to the university); Adarand
 Constructors, Inc. v. Pena, 515 U.S. 200, 212 (1995) (holding a subcontractor challenging a race-based program for
 allocating contracts established standing by showing that it “bids on every guardrail project in Colorado,” that the
 defendant is likely to request bids for contracts involving guardrail work “at least once per year in Colorado, and that
 the plaintiff is very likely to bid on each such contract”); Greer’s Ranch Café v. Guzman, 540 F. Supp. 3d 638, 646
 (N.D. Tex. 2021) (holding that Greer had standing because he was “able and ready to apply; he ha[d] prepared an
 application on behalf of his restaurant and is otherwise eligible to receive an RRF grant, but for the allegedly
 unconstitutional prioritization scheme preventing his application from being processed”); cf. Gegenheimer v.
 Stevenson, No. 1:16-CV-1270-RP, 2017 WL 2880867, at *3 (W.D. Tex. July 5, 2017) (finding no standing where
 plaintiff had never applied for position in the past).


 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                         PAGE 12
Case 4:22-cv-00615-ALM          Document 10         Filed 01/31/23      Page 18 of 28 PageID #: 68




 allegations, however, fall far short of showing any actual preparation and eligibility to compete for

 acceptance into the DSP program.

        As described above, becoming a DSP owner means running a full-time package-delivery

 business; it includes recruiting, hiring, and coaching a team of high-performing hourly employees,

 managing a fleet of delivery vehicles, and adapting to demand throughout the year. See Ex. C.

 The DSP application requires “information about previous work experience, leadership, financial

 health, community involvement, and geographic preferences, as well as a credit check, background

 screening and motor vehicle record check,” and “documentation demonstrating access to $30,000

 in liquid assets” (which requirement is the same for everyone regardless of eligibility for the grant).

 See Ex. B. And even beyond those threshold requirements, the applicant must pass multiple rounds

 of interviews and be applying for a region with available openings. Id.

        Plaintiff’s alleged generalized interest in the program and allegation that she is enrolled in

 certain classes does not demonstrate that she was able and ready to apply for the program at the

 time she filed the lawsuit. See Carney, 141 S. Ct. at 499 (plaintiff “bears the burden of establishing

 standing as of the time [s]he brought this lawsuit”). Plaintiff does not allege any specific, concrete

 steps toward preparing the application, such as reading the detailed information on Amazon’s

 website or attending one of the webinars Amazon offers to interested potential applicants;

 identifying a territory where she would operate and whether Amazon had capacity in that area; or

 compiling the detailed financial and background information required for the application. See id.

 at 499–501 (explaining that plaintiff “bears the burden of establishing standing as of the time he

 brought this lawsuit,” and that a generalized intent to apply was insufficient “without reference to

 an anticipated timeframe,” “without prior relevant conversations,” and “without efforts to

 determine likely openings” or “other preparations or investigations”). Nor does Plaintiff allege




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          PAGE 13
Case 4:22-cv-00615-ALM          Document 10         Filed 01/31/23      Page 19 of 28 PageID #: 69




 facts showing that she is even eligible to become a DSP owner, i.e., that she could pass the credit

 check and background check, and that she has $30,000 in liquid assets.

        Thus, notwithstanding the opportunity to amend, Plaintiff still has not alleged—

 presumably because she cannot allege—that she actually meets the requirements for the initial

 application, much less the full process to become a DSP owner. Absent such allegations, Plaintiff

 is in the same position as the plaintiffs in Ellison and Carroll, who complained about allegedly

 discriminatory practices without showing specific steps necessary to make them eligible for the

 programs at issue. See Ellison, 11 F.4th at 207–08 (analogizing that a student could not claim she

 was able and ready to apply for staff privileges where she had yet to enter medical school); Carroll,

 342 F.3d at 942–43 (incomplete application insufficient to show that plaintiff was eligible for

 loan); see also Pucket v. Hot Springs Sch. Dist. No. 23-2, 526 F.3d 1151, 1161 (8th Cir. 2008)

 (“[I]f a plaintiff is required to meet a precondition or follow a certain procedure to engage in an

 activity or enjoy a benefit and fails to attempt to do so, that plaintiff lacks standing to sue because

 he or she should have at least taken steps to attempt to satisfy the precondition.”). Because Plaintiff

 pleads no facts demonstrating that she is able and ready to compete to become a DSP owner or

 that she meets the eligibility requirements for doing so, she cannot establish an injury-in-fact and

 her Complaint must be dismissed for lack of standing.

                2.      Plaintiff Cannot Plead an Injury-in-Fact Because She Is Unaffected
                        By Amazon’s DSP Grant Program.

        Even if Plaintiff could allege facts demonstrating that she is able and ready to compete to

 become a DSP owner, Plaintiff would still lack standing because she has not alleged any

 discrimination by Amazon in the DSP application process and she is wholly unaffected by

 Amazon’s decision to provide grants to some DSP owners but not others.




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          PAGE 14
Case 4:22-cv-00615-ALM           Document 10       Filed 01/31/23      Page 20 of 28 PageID #: 70




        Whether a plaintiff is “able and ready” to compete for a contract or benefit is relevant to

 the standing inquiry only where the plaintiff alleges that the competitive application process itself

 is allegedly discriminatory (such as a discriminatory bidding process for municipal contracts or a

 discriminatory process for university admissions). See Ne. Florida Chapter of Associated Gen.

 Contractors of Am. v. City of Jacksonville, Fla., 508 U.S. 656, 664–66, 668 (1993); Gratz, 539

 U.S. at 251. As the Supreme Court has explained, in such cases the “‘injury in fact’ is the inability

 to compete on an equal footing in the bidding process,” and thus the plaintiff does not have to

 show that she would have been awarded the contract had she applied. Ne. Florida Chapter, 508

 U.S. at 666 (emphasis added).

        Here, Plaintiff does not allege that Amazon’s race-neutral process for awarding DSP

 contracts discriminates against DSP applicants in any way. Indeed, if she can satisfy the eligibility

 requirements, Plaintiff can compete on “equal footing” with all other applicants—regardless of

 race—for admission to the DSP program. Plaintiffs’ actual complaint is that, among those that

 Amazon selects for entry into the DSP program, it allegedly discriminates by providing a grant to

 some DSP owners, but not others. As demonstrated by Plaintiff’s own allegations, the only

 population of people who are potentially eligible for the grants are DSP owners. FAC ¶ 8. And

 because Plaintiff is not a DSP owner (and has no imminent prospect of becoming one), she is

 unaffected by that conduct and has failed to plead an injury-in-fact sufficient to establish standing.

        The Fifth Circuit’s decision in Pederson v. Louisiana State University, 213 F.3d 858 (5th

 Cir. 2000), is highly instructive and provides a helpful roadmap as to when the “able and ready”

 standard does and does not apply. As pertinent here, female students who played club soccer sued

 their university alleging (1) failure to accommodate under Title IX by failing to field a varsity

 women’s soccer team, and (2) unequal treatment between female and male varsity athletes in the




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                         PAGE 15
Case 4:22-cv-00615-ALM          Document 10       Filed 01/31/23     Page 21 of 28 PageID #: 71




 allocation of scholarships and other benefits. Id. at 870–72. As to the failure-to-accommodate

 claim, the Court applied the “able and ready” standard and found that students had standing

 because “the injury here results from the imposed barrier—the absence of a varsity team for a

 position on which a female student should be allowed to try out.” Id. at 871. Nonetheless, the

 students lacked standing to claim unequal treatment of female versus male varsity athletes because

 they were not actually within the affected group: “‘The treatment of participants in female varsity

 athletics has not impacted plaintiffs as they have not been female varsity athletes and therefore

 have not been discriminated against by any alleged treatment of LSU’s female varsity athletes;

 therefore a change in said treatment would not impact plaintiffs.’” Id. at 872 & n.14 (quoting with

 approval district court’s reasoning).

        Likewise here, Plaintiff does not allege a discriminatory “barrier” to competing on equal

 footing for a DSP contract, but instead alleges unequal treatment solely amongst DSP owners, of

 which she is not and has not applied to become one. As explained above, while Amazon offers a

 diversity grant to certain DSP owners, neither the grant nor race plays any role in the DSP

 application process itself. See supra at pp. 5–7. Thus, like the unequal treatment claim in

 Pederson, the relevant inquiry is not whether Plaintiff was able and ready to compete for a DSP

 contract, but whether she was affected by the alleged unequal treatment of those who are already

 DSP owners. Because Plaintiff does not and cannot allege that she is a DSP owner, she cannot be

 affected by a policy that gives grants to some DSP owners but not others.

        Moreover, it is purely speculative whether Plaintiff ever could become a DSP owner,

 regardless of whether the challenged grant program were changed or even eliminated. As courts

 have held in other contexts, a plaintiff cannot show actual or imminent injury where an attenuated

 chain of events would need to occur before the plaintiff would be affected. See Warth v. Seldin,




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                      PAGE 16
Case 4:22-cv-00615-ALM          Document 10         Filed 01/31/23      Page 22 of 28 PageID #: 72




 422 U.S. 490, 504–508 (1975) (plaintiffs lacked standing to challenge a town’s exclusionary

 zoning practice where, despite their alleged desire to live in the town, they failed to plead facts

 showing “a substantial probability” that they would have been able to buy or lease a house, absent

 the challenged practices); Attala Cnty., Miss. Branch of NAACP v. Evans, 37 F.4th 1038, 1044

 (5th Cir. 2022) (plaintiffs lacked standing for prospective challenge to district attorney’s alleged

 practice of excluding black jurors because of “the combination of events that must occur before

 there would be an injury”); Gohmert v. Pence, 510 F. Supp.3d 435, 441 (E.D. Tex. 2021), aff'd,

 832 Fed. Appx. 349 (5th Cir. 2021)(plaintiff lacked standing because his “alleged injury requires

 a series of hypothetical—but by no means certain—events”). That is the case here.

        As shown above, becoming a DSP owner is a rigorous multi-step process. In 2021 alone,

 Amazon received about 21,000 applications for the DSP Program and accepted only about 650

 applicants. Mikhail Decl., Ex. A, at ¶ 4. This amounts to an acceptance rate of around 3%. And

 it is only after an offer is made and accepted that an individual (who has become a DSP owner)

 can first become eligible to receive a grant. Thus, Plaintiff’s theory of future injury relies on a

 highly attenuated chain of possibilities that is too speculative to establish an actual or imminent

 injury, particularly where she fails to plead any facts showing her ability to satisfy numerous

 threshold application requirements.

        It is axiomatic that a plaintiff cannot manufacture standing through allegations of harm to

 a group of which she is not a part (and in which she has shown no genuine interest) simply because

 she believes there has been a violation of the law. Carney, 141 S. Ct. at 499 (“a plaintiff cannot

 establish standing by asserting an abstract ‘general interest common to all members of the public,’

 . . . ‘no matter how sincere’ or ‘deeply committed’ a plaintiff is to vindicating that general interest

 on behalf of the public.”) (quoting Hollingsworth v. Perry, 570 U.S. 693, 706–07 (2013)); Lujan,




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          PAGE 17
Case 4:22-cv-00615-ALM                Document 10            Filed 01/31/23          Page 23 of 28 PageID #: 73




 504 U.S. at 573–74 (collecting cases concluding that “raising only a generally available grievance

 about government—claiming only harm to his and every citizen’s interest in proper application of

 the Constitution and laws, and seeking relief that no more directly and tangibly benefits him than

 it does the public at large—does not state an Article III case or controversy”). But that is the

 entirety of Plaintiff’s Complaint. Thus, the Court should conclude, for any one of the reasons

 explained above, that she has not and cannot plead standing and should dismiss her Complaint

 with prejudice. 7

 II.      The Complaint Should be Dismissed Because Plaintiff Fails to State a Claim Upon
          Which Relief May Be Granted.

          Even if Plaintiff’s conclusory allegations were sufficient to plead Article III standing, they

 are insufficient to show that racial discrimination was a but-for cause of Plaintiff suffering any

 injury, which is required to state a claim under Section 1981. This failure independently requires

 dismissal under Rule 12(b)(6). See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (articulating legal

 standard for Rule 12(b)(6) motion to dismiss); see also supra at p. 7 (same).

          To state a Section 1981 claim, “a plaintiff must initially plead and ultimately prove that,

 but for race, [she] would not have suffered the loss of a legally protected right.” Comcast Corp. v.

 Nat’l Ass’n of African Am.-Owned Media, 140 S. Ct. 1009, 1019 (2020). Thus, the plaintiff “has

 the burden of pleading facts that, taken as true, permit the Court to infer that race was a but-for

 cause of [her] injury.” Simmons v. Triton Elevator, LLC, No. 3:19-CV-1206-B, 2020 WL

 7770245, at *3 (N.D. Tex. Dec. 30, 2020) (internal quotation marks omitted).



 7
   Plaintiff generally purports to have suffered an injury in the Eastern District of Texas. However, the Complaint does
 not actually allege that any particular events took place in the Eastern District of Texas, aside from the vague
 implication that Plaintiff was injured while residing here. If this Court agrees that Plaintiff has not suffered an injury
 in the Eastern District of Texas for the reasons discussed herein, then this Complaint is also subject to dismissal for
 improper venue under FRCP 12(b)(3). See Hamilton v. United Parcel Serv., Inc., No. 1:11-CV-240, 2012 WL 760714,
 at *6 (E.D. Tex. Feb. 13, 2012) (holding that venue is improper in the Eastern District of Texas because “the plaintiff
 has not alleged any event or omission which occurred in this district.”).


 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                                           PAGE 18
Case 4:22-cv-00615-ALM          Document 10        Filed 01/31/23      Page 24 of 28 PageID #: 74




        Plaintiff cannot show that her race is a but-for cause of not receiving the diversity grant at

 issue because she is not a DSP owner, and only DSP owners are eligible for that grant. The but-

 for cause of her not receiving a grant is that she is not a DSP owner, as opposed to anything related

 to her race. Moreover, Plaintiff has not alleged any discrimination in the application process to

 become a DSP, and thus she cannot plausibly allege that there were any discriminatory barriers to

 her becoming a DSP as a prerequisite for being eligible for the grant.

        Even if this situation were analogized to cases involving discrimination in an application

 process, Section 1981 cases have long required that the plaintiff demonstrate her qualifications for

 the position she sought—which Plaintiff has not done. See, e.g., Adams v. Houston Cmty. Coll.,

 No. CV H-22-1547, 2022 WL 4227260, at *1 (S.D. Tex. Sept. 12, 2022). After all, when an

 applicant “lack[s] the qualifications to be hired,” she “would not . . . be[] hired in any event” and

 therefore “suffer[s] no injury as a result of the alleged discriminatory practices.” E. Tex. Motor

 Freight Sys. Inc. v. Rodriguez, 431 U.S. 395, 403–04 & n.9 (1977).

        This case law is consistent with the general principle that the plaintiff “must establish the

 loss of an actual, not speculative or prospective, contract interest,” which requires “offer[ing]

 evidence of some tangible attempt to contract” that “was in some way thwarted” by the defendant.

 Morris v. Dillard Dep’t Stores, Inc., 277 F.3d 743, 751–52 (5th Cir. 2001); see also id. at 752

 (quoting with approval Henderson v. Jewel Food Stores, Inc., No. 96 C 3666, 1996 WL 617165,

 at *3 (N.D. Ill. Oct. 23, 1996): “[A] § 1981 claim must allege that the plaintiff was actually

 prevented, and not merely deterred, from making a purchase or receiving service after attempting

 to do so.”). “[M]erely alleg[ing] possible loss of future opportunities” to enter into a contract is

 not enough. Phelps v. Wichita Eagle-Beacon, 886 F.2d 1262, 1267 (10th Cir. 1989) (emphasis in

 original). Where the plaintiff “points to no contract that [s]he bid on and failed to obtain because




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                        PAGE 19
Case 4:22-cv-00615-ALM            Document 10          Filed 01/31/23       Page 25 of 28 PageID #: 75




 of racial animus,” the claim must be dismissed. Smart v. Int’l Broth. of Elec. Workers, Loc. 702,

 315 F.3d 721, 726 (7th Cir. 2002) (emphases added).

         Here, Plaintiff is not a DSP owner and fails to allege that she made any “tangible attempt”

 to become a DSP owner, or that she has the qualifications to become a DSP owner had she applied.

 Yet, as she recognizes, only those “who act as [Amazon] delivery service partners” can receive the

 diversity grant, FAC at 1; see also id. ¶ 37(b), and there are a series of threshold eligibility

 requirements, articulated in the website’s FAQs, that any aspiring DSP owner must meet. 8 See

 Ex. B; see also FAC ¶ 7, Dkt. No. 8-1 at 3 (providing link to FAQs). Absent any allegation that

 she meets those requirements to become a DSP owner, or even applied at all, Plaintiff cannot show

 that she would have received a $10,000 grant but for the supposed discrimination. See Simmons,

 2020 WL 7770245, at *3 (dismissing Section 1981 claim when plaintiff failed to plead sufficient

 facts to show but-for causation). Even if Amazon eliminated the alleged discrimination by

 permitting any DSP owner to receive a $10,000 grant, Plaintiff still would not have received one

 because she is not a DSP owner (and, based on her own allegations, is far-removed from becoming

 one). FAC ¶¶ 19, 24. Plaintiff would have missed out no matter how broadly or narrowly Amazon

 awarded the grants. And for the same reason, she cannot even benefit from the judicial relief she

 seeks in this case.

         It follows that the purported discrimination played no causal role at all, much less a but-for

 causal role, in Plaintiff’s failing to receive a grant. See Comcast Corp., 140 S. Ct. at 1019

 (requiring plaintiff to plead but-for causation). Because Plaintiff fails to state a claim upon which

 relief may be granted, the Court should dismiss.




 8
   As explained above, this Court may consider the FAQs without converting the Rule 12(b)(6) motion to one for
 summary judgment. See supra n.3.


 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                               PAGE 20
Case 4:22-cv-00615-ALM         Document 10        Filed 01/31/23      Page 26 of 28 PageID #: 76




                                          CONCLUSION

        For the foregoing reasons, Amazon respectfully requests that the Court grant Amazon’s

 Motion to Dismiss and dismiss Plaintiff’s First Amended Class-Action Complaint with prejudice.

 Amazon further respectfully requests such further relief to which it may be justly entitled.




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                          PAGE 21
Case 4:22-cv-00615-ALM     Document 10   Filed 01/31/23     Page 27 of 28 PageID #: 77




 Dated: January 31, 2023

                                      Respectfully Submitted,

                                   BY: /s/ Angela C. Zambrano
                                     Angela C. Zambrano, Lead Attorney
                                     Texas Bar No. 24003157
                                     angela.zambrano@sidley.com
                                     Margaret Hope Allen
                                     Texas Bar No. 24045397
                                     margaret.allen@sidley.com
                                     Natali Wyson
                                     Texas Bar No. 24088689
                                     nwyson@sidley.com
                                     SIDLEY AUSTIN LLP
                                     2021 McKinney Avenue, Suite 2000
                                     Dallas, Texas 75201
                                     Telephone:      (214) 981-3300
                                     Facsimile:      (214) 981-3400

                                      David R. Carpenter
                                      (pro hac vice forthcoming)
                                      drcarpenter@sidley.com
                                      SIDLEY AUSTIN LLP
                                      555 West Fifth Street, Suite 4000
                                      Los Angeles, California 90013
                                      Telephone:     (213) 896-6000
                                      Facsimile:     (213) 896-6600

                                      /s/ Deron R. Dacus
                                      Deron R. Dacus
                                      Texas Bar No. 00790553
                                      ddacus@dacusfirm.com
                                      The Dacus Firm, P.C.
                                      821 ESE Loop 323, Suite 430
                                      Tyler, Texas 75701
                                      Phone/Fax: (903) 705-1117

                                      Attorneys for Defendant Amazon.com, Inc.




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                           PAGE 22
Case 4:22-cv-00615-ALM        Document 10       Filed 01/31/23     Page 28 of 28 PageID #: 78




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been served on all counsel of record in accordance with the Federal Rules of Civil Procedure

 and this Court’s CM/ECF filing system on January 31, 2023.

                                                    /s/ Natali Wyson
                                                    Natali Wyson




 DEFENDANT’S MOTION TO DISMISS FIRST AMENDED COMPLAINT                                   PAGE 23
